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Case 2:08-cv-01223-NDF-MLC Document 199

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Attorneys for Defendants
Hughes Water & Sewer LP, and

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HD Supply Construction Supply, Limited Partnership

UNITED STATES DISTRICT COURT

DISTRICT OF NEVADA

EDWIN K. SLAUGHTER, REBECCA FLINN,
and MEL and CAROL HEALEY, individually
and on behalf of all others similarly situated,

Plaintiffs,
vs.

UPONOR, INC., a Minnesota corporation;
UPONOR NORTH AMERICA, INC., a
Minnesota corporation; RCR PLUMBING AND
MECHANICAL, INC., a California corporation;
INTERSTATE PLUMBING & AIR
CONDITIONING, LLC, a Nevada _ limited
liability company; UNITED PLUMBING, LLC, a
Nevada limited liability company; FERGUSON
ENTERPRISES, INC., a Virginia corporation;
HUGHES WATER & SEWER LP, a Florida
limited partnership and successor by merger to
STANDARD WHOLESALE SUPPLY
COMPANY, a dissolved Nevada corporation;
HD SUPPLY CONSTRUCTION SUPPLY,
LIMITED PARTNERSHIP, a Florida limited

partnership; DOES 1-30, ROE
CORPORATIONS I-XXX,
Defendants.

 

 

 

 

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Case No.: 2:08-cv-01223

MOTION FOR AN ORDER
SHORTENING TIME ON PLAINTIFF'S
MOTION FOR VOLUNTARY

DISMISSAL WITHOUT PREJUDICE
BY DEFENDANT HUGHES WATER &
SEWER LP AND HD _ SUPPLY
CONSTRUCTION SUPPLY

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Defendants Hughes Water & Sewer LP, and HD Supply Construction Supply Limited
Partnership, by and through their counsel of record, David J. Larson, Esq. and Rosemary
Missisian, Esq. of the law firm of WEINBERG WHEELER HUDGINS GUNN & DIAL, LLC,
3773 Howard Hughes Parkway, Suite 390N, Las Vegas, Nevada 89169, hereby submits this
Motion for an Order Shortening the Time for the hearing on Plaintiffs Motion for Voluntary
Dismissal Without Prejudice (Document 183).

2th)
DATED this / day of August 2009.

GQ agg: ——

David J. Larson, Esq.
Rosemary Missisian, Esq.
WEINBERG, WHEELER, HUDGINS,
GUNN & DIAL, LLC
3773 Howard Hughes, Pkwy., Suite 390N
Las Vegas, NV 89169
Attorneys for Defendants
Hughes Water & Sewer LP,
HD Supply Construction Supply, Limited Partnership

 

MEMORANDUM OF POINTS AND AUTHORITIES

Defendants Hughes Water & Sewer, LP (“Hughes Water”) and HD Supply Construction
Supply Limited Partnership ("HD Supply") move for an order shortening the time for a hearing
regarding Plaintiffs’ Motion for Voluntary Dismissal without prejudice. (Doc. 183). Plaintiffs
previously obtained agreement from all parties, with the exception Uponor, Inc., to execute a
Stipulation of Dismissal without prejudice as to Hughes Water and HD Supply. Based on the
inability to obtain signatures of all parties, Plaintiffs moved for dismissal. Uponor, Inc. has
responded to Plaintiffs’ Motion for Voluntary Dismissal. (Doc. 194). The only pleading
remaining is a reply brief responsive to Uponor, Inc.’s Response to Plaintiffs’ Motion for
Voluntary Dismissal.

Hughes Water and HD Supply request that the hearing on this matter be expedited in order

to prevent these parties from having to spend additional time and money participating in the

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Weinberg, Wheeler, Hudgins, Gunn & Dial, LLC
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discovery process, when such efforts will not be necessary if these defendants are dismissed from
this action.

Local Rule 6-1 governs requests for continuance, extension of time or orders shortening
time. The rules states:

Every motion requesting a continuance, extension of time, or order shortening time
shall be "Filed" by the clerk and processed as an expedited matter.

Hughes Water and HD Supply are filing this motion with the clerk in accordance with this
local rule.

Based on the foregoing, Hughes Water and HD Supply respectfully request an order
shortening the time for the hearing regarding Plaintiffs' Motion for Voluntary Dismissal as to
Hughes Water and HD Supply. To allow the filing of a Reply brief, Hughes Water and HD Supply

respectfully request a hearing date on August 20, 2009 or as soon as possible thereafter.

DATED this / 3 day of August, 2009.

David J. Larson, Esq.
Rosemary Missisian, Esq.
WEINBERG, WHEELER, HUDGINS,
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3773 Howard Hughes, Pkwy., Suite 390N
Las Vegas, NV 89169
Attorneys for Defendants
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HD Supply Construction Supply, Inc.

 

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CERTIFICATE OF SERVICE
I hereby certify that on the 3 day of August, 2009, the foregoing DEFENDANT
HUGHES WATER & SEWER LP AND HD SUPPLY CONSTRUCTION SUPPLY'S
MOTION FOR AN ORDER SHORTENING THE TIME FOR THE HEARING
REGARDING PLAINTIFF'S MOTION FOR VOLUNTARY DISMISSAL WITHOUT

PREJUDICE was served on all parties or persons requesting notice via the United States

An Employee of Weinbetg, Wheeler,
Hudgins, Gunn & Dial, LLC

District Court CM/ECF system.

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